     Case 3:21-cv-00098-E Document 19 Filed 02/24/21              Page 1 of 4 PageID 169



                         I IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

SOUTHWEST AIRLINES CO.,                          §
                                                 §
           Plaintiff,                            §
                                                 §
v.                                               §           Case No. 3:21-cv-00098
                                                 §
KIWI.COM, INC. and                               §
KIWI.COM S.R.O.,                                 §
                                                 §
           Defendants.                           §

         APPENDIX IN SUPPORT OF PLAINTIFF SOUTHWEST AIRLINES CO.’S
                    MOTION FOR PRELIMINARY INJUNCTION

           Plaintiff Southwest Airlines Co. files this Appendix in Support of Its Motion for

Preliminary Injunction.

 Exhibit Description                                                             Appendix
                                                                                   Pages
     A         Hursh Declaration                                                 Appx. 1-29

     A-1       J.D. Power Press Release dated May 27, 2020                      Appx. 30-34

     A-2       Southwest Website Listing Awards available at                    Appx. 35-38
               https://www.swamedia.com/pages/awards-and-recognition
     A-3       Southwest Website Terms & Conditions available at                Appx. 39-44
               https://www.southwest.com/html/about-southwest/terms-and-
               conditions/
     A-4       Kiwi Website available at                                        Appx. 45-51
               https://www.kiwi.com/us/pages/content/about
     A-5       Kiwi Website available at                                        Appx. 52-61
               https://www.kiwi.com/us/pages/content/company
     A-6       Southwest Cease and Desist Notice dated Dec. 11, 2020            Appx. 62-77

     A-7       Southwest Cease and Desist Notice dated Aug. 28, 2019            Appx. 78-81

     A-8       Kiwi Email dated Sept. 11, 2019                                  Appx. 82-83

     A-9       Kiwi Email and Attachment dated July 14, 2020.                   Appx. 84-87

     B         Buckley Declaration                                              Appx. 88-103



                                                 1
 Case 3:21-cv-00098-E Document 19 Filed 02/24/21           Page 2 of 4 PageID 170



Exhibit Description                                                        Appendix
                                                                             Pages
 B-1    Southwest Records of Complaints and Inquiries Regarding Flights   Appx. 104-168
        Booked by Kiwi
  C     Andorf Declaration                                                Appx. 169-172
 C-1    Southwest PNR Records Aug. 1, 2020 to Jan. 13, 2021 with Email    Appx. 173-331
        Domain @airline.kiwi.com
 C-2    Southwest PNR Records Aug. 1, 2020 to Jan. 13, 2021 with Email    Appx. 332-372
        Domain @kachipytel.com
 C-3    Southwest PNR Records Jan. 14, 2021 to Feb. 18, 2021 with         Appx. 373-384
        Email Domain @airline.kiwi.com
 C-4    Southwest PNR Records Jan. 14, 2021 to Feb. 18, 2021 with         Appx. 385-412
        Email Domain @kachipytel.com
 C-5    Southwest PNR Records for Upcoming Southwest Flights with         Appx. 413-428
        Email Domain @airline.kiwi.com or @kachipytel.com
  D     Obrenic Declaration                                               Appx. 429-438

 D-1    Southwest Ground Operating Manual Excerpts                        Appx. 439-447

 D-2    Dec. 24, 2020 Email                                               Appx. 448-451

 D-3    Jan. 1, 2021 Email at 10:20 AM                                    Appx. 452-454

 D-4    Jan. 2021 PNR Notes                                               Appx. 455-459

 D-5    Feb. 2, 2021 Email at 8:58 PM                                     Appx. 460-461

 D-6    Feb. 2, 2021 Email at 7:01 PM                                     Appx. 462-467

 D-7    Feb. 17, 2021 Email                                               Appx. 468-469

 D-8    Feb. 2, 2021 Email at 2:51 PM                                     Appx. 470-471

 D-9    Feb. 16, 2021 Email                                               Appx. 472-473

 D-10   Jan. 1, 2021 Email at 10:38 AM                                    Appx. 474-476

 D-11   Jan. 1, 2021 Delay Report                                         Appx. 477-479

 D-12   Jan. 28, 2021 Delay Report                                        Appx. 480-482

 D-13   Feb. 8, 2021 Email                                                Appx. 483-484

 D-14   Feb. 15, 2021 Email                                               Appx. 485-486

 D-15   Jan. 1, 2021 Email at 10:44 AM                                    Appx. 487-489



                                          2
 Case 3:21-cv-00098-E Document 19 Filed 02/24/21              Page 3 of 4 PageID 171



Exhibit Description                                                            Appendix
                                                                                 Pages
 D-16   Jan. 11, 2021 Email                                                   Appx. 490-491

 D-17   Jan. 28, 2021 Email                                                   Appx. 492-493

  E     Dunwoody Declaration                                                  Appx. 494-496

 E-1    Better Business Bureau Webpage on Kiwi.com available at               Appx. 497-501
        https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-
        inc-0633-90562676
 E-2    Better Business Bureau Customer Complaints re: Kiwi.com               Appx. 502-532
        available at https://www.bbb.org/us/fl/miami/profile/travel-
        agency/kiwicom-inc-0633-90562676/complaints
 E-3    The Guardian Article entitled “In the year of Covid, the awards for   Appx. 533-538
        worst customer service go to…” available at
        https://www.theguardian.com/money/2020/dec/27/in-the-year-of-
        covid-the-awards-for-worst-customer-service-go-to
 E-4    Trip Advisor Forum entitled “WARNING: Don't buy travels or air        Appx. 539-545
        tickets from KIWI.COM” available at
        https://www.tripadvisor.in/ShowTopic-g1-i10702-k10065992-
        WARNING_Don_t_buy_travels_or_air_tickets_from_KIWI_CO
        M-Air Travel.html
 E-5    Trip Advisor Forum entitled “Warning: Kiwi.com is a SCAM”             Appx. 546-551
        available at https://www.tripadvisor.in/ShowTopic-g1-i10702-
        k11349129-Warning Kiwi com is a SCAM-Air Travel.html
 E-6    Facebook Forum entitled “Kiwi.com - victims of the scam Kiwi”         Appx. 552-555
        available at
        https://www.facebook.com/groups/254374211743198/about
 E-7    Wall Street Journal, “The Best and Worst U.S. Airlines of 2020,”      Appx. 556-567
        available at https://www.wsj.com/articles/the-best-and-worst-u-s-
        airlines-of-2020-11611756016
  F     Reyes Declaration                                                     Appx. 568-571




                                            3
    Case 3:21-cv-00098-E Document 19 Filed 02/24/21              Page 4 of 4 PageID 172



                                                   Respectfully submitted,

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                                                   ATTORNEYS FOR PLAINTIFF
                                                   SOUTHWEST AIRLINES CO.


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on all
counsel of record by ECF on February 24, 2021.

                                                   /s/ Michael C. Wilson
                                                   Michael C. Wilson

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